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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                                AT LOUISVILLE
                               Electronically Filed

UNITED STATES OF AMERICA                                              PLAINTIFF

v.                                                 CRIMINAL NO. 3:17 CR-00078-DJH

DHAVAL JERAMBHAI DHOLARIA                                           DEFENDANT

                                       ORDER



     Motion having been made and the Court having been advised;

     IT IS HEREBY ORDERED that the Defendant’s Motion to Continue IS GRANTED.




     SO ORDERED
